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7
8                       UNITED STATES DISTRICT COURT
9                      CENTRAL DISTRICT OF CALIFORNIA
10                              WESTERN DIVISION
11
12   FASHIONPASS, INC.,                      Case No. 2:19-cv-03537-GW-JC
13                        Plaintiff,         DEFENDANT RENT THE
                                             RUNWAY, INC.’S APPLICATION
14        vs.                                FOR LEAVE TO FILE UNDER
                                             SEAL CERTAIN EXHIBITS IN
15   RENT THE RUNWAY, INC.,                  SUPPORT OF ITS MOTION TO
                                             DISMISS
16                        Defendant.
                                             Date:        October 7, 2019
17                                           Time:        8:30 a.m.
                                             Place:       Room 9D, 9th Floor
18
                                             Judge: Hon. George H. Wu
19
                                             [Filed concurrently with: Declaration of
20                                           David R. Singh; Redacted Versions of
                                             Documents Proposed to be Filed Under
21                                           Seal; Unredacted Versions of
                                             Documents Proposed to be Filed Under
22                                           Seal; and [Proposed] Order re
                                             Application for Leave to File Under
23                                           Seal]
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     RTR’S APPLICATION FOR               1            Case No. 2:19-cv-03537-GW-JC
     LEAVE TO FILE UNDER SEAL
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1          Pursuant to Local Rule 79-5, Defendant RENT THE RUNWAY, INC. (“RTR”)
2    hereby applies for leave of Court to file Exhibits A and D to the September 8, 2019
3    Declaration of David R. Singh, filed in support of RTR’s Motion to Dismiss Plaintiff
4    FashionPass, Inc.’s First Amended Complaint, under seal. Exhibit A is a vendor form
5    prepared by RTR’s legal department and is marked “HIGHLY CONFIDENTIAL”
6    under the Stipulated Protective Order (Dkt. No. 43). See Declaration of David R.
7    Singh In Support of Application for Leave to File Under Seal Certain Exhibits in
8    Support of Its Motion to Dismiss (“Singh Decl.”), filed concurrently herewith, at ¶ 4.
9    This document reflects RTR’s proprietary terms of purchasing certain fashion items at
10   wholesale from its vendors and contains strategic competitive informatoin. Id. Exhibit
11   D is an example of a proprietary RTR purchase order. Id. ¶ 5. The document reflects
12   competitively sensitive information, including the amount of units purchased, the
13   amount RTR spent with the vendor, any discounts issued by the vendor to RTR, and
14   RTR’s proprietary matrix of sizes order. Id.
15         Counsel for FashionPass was informed of RTR’s intent to seek leave to file
16   Exhibits A and D under seal. See id. at ¶ 6, Ex. 1. Specifically, counsel for
17   FashionPass was advised that RTR views the proprietary information relating to
18   RTR’s negotiations with suppliers, terms of agreements with suppliers, pricing of
19   products, competitive strategy, and purchasing strategy, as confidential and
20   competitively sensitive. Id. FashionPass did not advise as to whether it opposes RTR’s
21   application.
22         Where, as here, commercially sensitive information is at issue, documents may
23   be filed under seal. See, e.g., Dobrosky v. Arthur J. Gallagher Serv. Co. LLC, No.
24   EDCV 13-0646 JGB (SPx), 2015 U.S. Dist. Lexis 68252 at *11 (C.D. Cal. May 18,
25   2015) (stating that “‘compelling reasons’ may exist if sealing is required to prevent
26   judicial documents from being used as sources of business information that might
27   harm a litigant’s competitive standing.”) (internal quotations omitted).
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     RTR’S APPLICATION FOR                     2           Case No. 2:19-cv-03537-GW-JC
     LEAVE TO FILE UNDER SEAL
Case 2:19-cv-03537-GW-JC Document 54 Filed 09/08/19 Page 3 of 3 Page ID #:604



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2    Dated: September 8, 2019     Respectfully submitted,
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     RTR’S APPLICATION FOR               3          Case No. 2:19-cv-03537-GW-JC
     LEAVE TO FILE UNDER SEAL
